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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

 LEWIS ROGERS TODD,
                Plaintiff,
 v.                                                  MDL NO. 2592

 JANSSEN RESEARCH &                                  SECTION: L
 DEVELOPMENT, LLC f/k/a JOHNSON
 AND JOHNSON PHARMACEUTICAL                          JUDGE: ELDON E. FALLON
 RESEARCH AND DEVELOPMENT LLC,
 et al.,                                             MAG. JUDGE MICHAEL NORTH
                Defendants.
                                                     JURY TRIAL DEMANDED
 This Documents Relates to:
 No. 2:16-cv-14382



                                      PROPOSED ORDER

       IT IS ORDERED that the Motion for Extension of Time Within Which to Serve Process

on Defendant Bayer Healthcare Pharmaceuticals, Inc. filed by the above-listed Plaintiff is

hereby GRANTED, and that Plaintiffs shall have thirty (30) days from the date of this Order to

complete service of process through the streamlined service procedures for the informal service

of process set forth in Pretrial Order No. 10.

New Orleans, Louisiana, this          day of             , 2017.




                                        Hon. Eldon E. Fallon
                                        United States District Judge
